                      Case 2:13-cr-00018-RTB         Document 798            Filed 02/06/17   Page 1 of 2



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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                   ***
                 7    UNITED STATES OF AMERICA,                                Case No. 2:13-CR-18 JCM (GWF)
                 8                                           Plaintiff(s),                     ORDER
                 9            v.
               10     LEON BENZER, et al.,
               11                                          Defendant(s).
               12
               13             Presently before the court is defendant Leon Benzer’s motion for stay of restitution
               14     collection pending appeal. (ECF No. 793).
               15             On August 6, 2015, the court sentenced defendant, and judgment was entered on August
               16     21, 2015. (ECF Nos. 729, 750). On August 19, 2015, defendant filed a notice of appeal. (ECF
               17     No. 747). According to the judgment, restitution is in the amount of $12,228,913.40. (ECF No.
               18     750).
               19             In the instant motion, defendant requests that the court stay the collection of restitution
               20     pending the outcome of his appeal. (ECF No. 793).
               21             Pursuant to Federal Rule of Criminal Procedure 38(e)(1), “[i]f the defendant appeals, the
               22     district court . . . may stay—on any terms considered appropriate—any sentence providing for
               23     restitution under 18 U.S.C. § 3556.” Fed. R. Crim. P. 38(e)(1). Rule 38(e)(2) further provides, in
               24     relevant part, as follows:
               25
                              The court may issue any order reasonably necessary to ensure compliance with a
               26             restitution order . . ., including:
                              ....
               27                      (C) an order requiring the defendant to deposit all or part of any monetary
                                       restitution into the district court’s registry; or
               28                      (D) an order requiring the defendant to post a bond.

James C. Mahan
U.S. District Judge
                      Case 2:13-cr-00018-RTB          Document 798        Filed 02/06/17      Page 2 of 2



                1     Fed. R. Crim. P. 38(e)(2).
                2            Thus, defendant is ordered, in accordance with Rule 38(e)(2)(C) or (D), to either
                3     (a) deposit all of the monetary restitution into the district court’s registry, or (b) post a
                4     bond. Upon completion, defendant shall file notice with the court and renew the instant
                5     motion.
                6            Accordingly,
                7            IT IS HEREBY ORDERED that defendant’s motion for stay of restitution
                8     collection pending appeal (ECF No. 793) be, and the same hereby is, DENIED without
                9     prejudice consistent with the foregoing.
              10             DATED February 6, 2017.
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              12                                            ___________________________________________
                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                   -2-
